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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

LAKEISHA EZELL,                         )
                                        )
      Plaintiff,                        )
                                        )
v.                                      ) Civil Action No. 4:20-cv-2058-ACA
                                        )
JEFFERSON DUNN, et al.,                 )
                                        )
      Defendants.                       )


                             SCHEDULING ORDER

       The court enters this order under Federal Rule of Civil Procedure 16(b) based
on the parties’ report of a planning meeting and the scheduling conference held by
the court on November 2, 2023. (Doc. 116). This governs further proceedings in
this action unless modified for good cause shown.

       At the outset, the court notes that ruling on these motions to dismiss has taken
the court a very long time. The amended complaint contains a total of ten claims
against seventeen defendants. (See doc. 34 at 40–53). Defendants moved to dismiss
but their briefs offered little assistance to the court in evaluating their arguments.
(See doc. 105 at 3–6; see, e.g., docs. 47, 49). Because of the deficient briefing, the
court heard oral argument in this case. (See doc. 93). But at oral argument, the
parties continued to make broad, general arguments without providing specific
argument or citations to the court.

       The court’s memorandum opinion evaluated every single claim against every
single defendant by sifting through the record and applying the facts it located to the
broad, general arguments made by counsel. The court will not undertake such work
again.

      Any dispositive motion(s) must strictly adhere to Appendix II attached hereto.
The briefs must be organized by defendant and include a separate analysis of each
claim stated against that defendant for which the movant seeks relief. Thus, for
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Defendant Dunn, all of the claims stated against him should be addressed under one
section divided into subsections for each specific claim (failure to protect, state law
wrongful death, etc.). For Defendant Baker, the possible subsections under the
section titled “Defendant Baker” include failure to protect, state law wrongful death,
and state law wrongful act or omission resulting in death. And so on.

       The court will consider only those arguments “plainly and prominently”
raised. See Sapuppo v. Allstate Floridian Ins. Co., 739 F.3d 678, 681 (11th Cir.
2014) (quotation marks omitted). Each argument must be supported by pin citations
to each piece of undisputed evidence that the party provides in support of his or her
argument. The court will not consider any evidence beyond that which is cited by
the parties. The court understands that in a case of this size, the page limits the court
usually imposes may be too strict. The parties may move for extensions of those
limitations, so long as they use the extra pages to make helpful, non-general
argument that will actually assist the court in evaluating the claims and defenses
asserted or challenged. But if a party again fails to adequately support an argument,
the court will deem that argument forfeited without further discussion.


1.    Pleadings and Parties: Unless the party’s pleading may be amended as a
      matter of course pursuant to Federal Rule of Civil Procedure 15(a), the party
      must file a motion for leave to amend. Such motion for leave to amend shall
      state, specifically, those matters the party wishes to add or delete and shall
      contain, attached as an exhibit, the complete and executed amended pleading,
      which is suitable for filing. The motion for leave to amend, with the attached
      amended pleading, shall be served in accordance with Federal Rule of Civil
      Procedure 5.

      No causes of action, defenses, or parties may be added after April 12, 2024
      as to plaintiff and May 13, 2024 as to defendants.

2.    Discovery Limitations and Deadlines:
      a.     Depositions:                      The parties have the right to depose all
                                               parties to the litigation, any experts,
                                               and each party may depose 10
                                               additional witnesses. Each deposition
                                               is limited to a maximum of 8 hours.




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           Interrogatories:                  Maximum of 45 by any party directed
                                             to any other party.

           Requests for Production:          Maximum of 60 by any party directed
                                             to any other party.

           Requests for Admission:           Maximum of 125 by any party directed
                                             to any other party.

     b.    Expert Testimony: Unless modified by stipulation of the parties, the
           disclosures of expert witnesses—including a complete report under
           Federal Rule of Civil Procedure 26(a)(2)(B) from any specially retained
           or employed expert—are due:

           From plaintiff:            by September 12, 2024

           From defendants:           by October 11, 2024


     c.    Supplementation: Supplementation of disclosures and discovery
           under Federal Rule of Civil Procedure 26(e) is due within a reasonable
           period of time after discovery of such information, but all such
           supplementation shall be provided no later than 14 days before the
           close of discovery.
     d.    Deadline: All discovery must be commenced in time to be completed
           by August 12, 2024.

3.   Discovery Motions: Before a party files a motion to compel, a motion to
     quash, or any other discovery-related motion, the party must seek leave of the
     court to file the motion. Counsel for the moving party must confer in person
     or by telephone with opposing counsel to attempt to resolve their
     disagreements regarding discovery requests. If the parties are unable to
     resolve their dispute in that manner, then the party filing the motion for leave
     of the court shall describe all efforts taken to resolve the disputed matter and
     shall certify in the motion that the parties conferred pursuant to this order and
     were unable to reach an agreement. If an attorney makes a good faith effort
     but is unable to contact opposing counsel, then the attorney shall describe in
     the motion the attorney’s efforts to contact and coordinate with opposing
     counsel. Failure to include a statement of the parties’ attempt to resolve
     the matter without the court’s intervention may result in an automatic

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     denial of the motion. The motion for leave of the court need only include
     the facts relevant to the dispute. Legal argument and/or legal citations are not
     necessary.

     If the motion for leave of the court is opposed, opposing counsel may file a
     response within three days. If the non-moving party does not file a response,
     then the court will consider the motion unopposed.

     If the court grants leave, the moving party must file the discovery motion
     within one day. The non-moving party must file a response to the discovery
     motion within seven days.

     The court is concerned the parties will not meet the discovery deadlines in this
     case. Accordingly, on the first Monday of each month, the parties must
     provide the court with an excel spreadsheet detailing the parties’ discovery
     progress. The parties’ spreadsheet shall have five columns indicating: (1) in
     general terms, the type of discovery request propounded on a party or
     nonparty; (2) the date discovery was served on a party or nonparty; (3) the
     party or nonparty who was served with the discovery request; (4) the deadline
     imposed by the Federal Rules of Civil Procedure to respond to the discovery
     request; and (5) the cause for any delay in responding to discovery requests.

     If the parties submit a spreadsheet indicating either (1) no discovery has been
     propounded on a party or nonparty or (2) a discovery request has not been
     responded to by the deadline imposed by the Federal Rules of Civil Procedure,
     the court will hold a status conference the following Friday at 4:00 p.m. the
     cause of the delay.

4.   Dispositive Motions: All potentially dispositive motions and evidentiary
     submissions upon which a party will rely in support of the motion must be
     filed no later than January 27, 2025.

     Briefs in support of dispositive motions must be filed within one business
     day of the filing of the dispositive motion and evidentiary submissions. All
     briefs filed in support of or opposition to dispositive motions must contain
     citations to the evidentiary record by CM/ECF document and page
     number. To the extent that a party responding to a dispositive motion relies
     on evidence that is not included in the moving party’s evidentiary submission,



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     the responding party must file that evidence on or before the day the
     opposition brief is due.

     The parties must file and brief all dispositive motions consistent with
     Appendix II which is attached to the court’s initial order.

     The court recognizes that Appendix II addresses only motions for summary
     judgment. If the parties file a dispositive motion other than one for summary
     judgment, the parties must comply with Appendix II to the extent practicable.

5.   Extensions: Parties requesting an extension of any deadline must file a
     motion at least one week before the deadline, and must show good cause for
     the extension. Good cause includes, at a minimum, a description of why the
     party or parties cannot meet the existing deadline.

     Any motion that seeks an extension of the discovery deadline by more than
     thirty days must include: (1) a description of all discovery conducted up to the
     point of filing the motion for an extension and the dates said discovery was
     served and answered; (2) the depositions the parties have taken up to the point
     of filing the motion; and (3) a discovery plan setting the date on which each
     outstanding discovery issue will be resolved.

     The court strongly disfavors motions for extensions of time. The court will
     not grant motions for extension of time that request extensions in excess of
     forty-five days.

6.   Mediation: Unless a party objects, the court will enter an order referring the
     parties to mediation and setting a deadline by which mediation must occur.
     Objections to mediation should be included in the joint status report as
     described in paragraph seven.

     As a general rule, if the court refers the case to mediation, the court will not
     stay discovery and dispositive motion deadlines. The court has extended the
     deadline for dispositive motions in contemplation of mediation.

7.   Joint Status Report: The parties shall file a joint status report on or before
     July 12, 2024.




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      The status report should state whether the parties object to mediation and
      include enough information to allow the court to understand the nature of the
      case, its current status, including any pending motions, and any current or
      anticipated problems in preparing the case for trial. Specifically, the court
      should be advised of the pertinent issues and the parties’ positions as to those
      issues. The status report should not be used to argue the party’s case, or to
      present all possible legal theories; instead, the report should apprise the court
      of the case and current issues affecting trial preparation, including the status
      of critical discovery. Although the parties must report on the status of critical
      discovery, they should not informally request an extension of time in the
      report; any motion for extension of time must be made formally following the
      instructions set out above.

If the parties desire a status conference, they must request one in the joint status
report. Additional conferences, including a pretrial conference, will be scheduled as
needed by separate order. Due dates for lists of trial witnesses, exhibits, and
objections under Federal Rule of Civil Procedure 26(a)(3) shall be established in a
separate pretrial order.

8.    Trial: The parties shall be ready for trial August 2025, to be scheduled by
      separate order.

9.    Oral Argument: If a party wants oral argument on motion, the party must
      clearly indicate that request in the motion. In the interest of exposing less
      experienced attorneys to oral argument, the court will, in addition to its other
      considerations, take into consideration whether an attorney with less than five
      years’ experience will be arguing before the court. If the court grants the
      request for oral argument and one of the attorneys has less than five years’
      experience, the court will give the parties additional time for argument in
      order to provide an experienced attorney the opportunity to supplement the
      less experienced attorney’s argument.

                      DONE and ORDERED this November 9, 2023.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE


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